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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
MIODRAG KUKRIKA, CeWYON
CHANDLER-WARD, TIMOTHY
WILLIAMS, JOSHUA PALEFSKY,
and GREGG LANEZ, individually
and on behalf of all others similarly
situated,
                                         Case No. 1:24-cv-05492-ELR
                    Plaintiffs,
v.

Porsche Cars N.A., Inc.,
                  Defendant.




 DEFENDANT PORSCHE CARS NORTH AMERICA, INC.’S BRIEF IN
  SUPPORT OF ITS PARTIAL MOTION TO DISMISS PLAINTIFFS’
           AMENDED CLASS ACTION COMPLAINT
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I.    INTRODUCTION

      Voluntary recalls of vehicles serve an important function: ensuring that

manufacturers of motor vehicles investigate and address potential issues in their

vehicles. See, e.g., Vockie v. Gen. Motors Corp., 66 F.R.D. 57, 61 (E.D. Pa. 1975)

(“Manufacturers should not be inhibited in, or prejudiced by, a good faith effort to

protect the public safety and comply with their statutory duty.”). Significantly, this

putative class action has not been filed against the entity that designed, developed,

and manufactured the allegedly defective Taycan, nor the entity that supplied the

allegedly defective 800V lithium-ion batteries, nor the independently-owned and

operated dealers who sold those vehicles to the Plaintiffs.1 Rather, Plaintiffs have

sued Porsche Cars North America, Inc. (“PCNA”), the exclusive U.S. importer of

the Taycan, and of relevance here, the entity implementing the ongoing voluntary

recalls supervised by the National Highway Traffic Safety Administration

(“NHTSA”) related to Taycan batteries potentially short-circuiting. See Amended

Class Action Complaint (“FAC”), Dkt. 24.

      Plaintiffs bring this putative nationwide class action alleging PCNA “actively

concealed,” “failed to disclose,” and “omitted material information about” the

vehicles subject to these recalls. (FAC ¶¶ 60, 67; see also Part 573 Safety Recall


1
  Dr. Ing. h.c. F. Porsche AG (“Porsche AG”) designs, develops, and manufactures
Porsche vehicles, and LG Energy Solution WROCLAW sp. z o.o. supplied the
allegedly defective battery modules used in Taycan vehicles.
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Report (“Recall Report”), attached hereto as Ex. A, at p. 1). Because the recall

remedy moots Plaintiffs’ claims, in whole or in part, Plaintiffs speculate that the

recall remedy is (and will be) insufficient. But Plaintiffs’ desire to have the recall

remedy of their choice rather than the NHTSA-approved recall offered by non-party

Porsche AG, does not constitute a viable legal claim.

      Plaintiffs incorrectly assert that this recall “do[es] not involve affirmatively

replacing the Defective Battery or a definitive repair or replacement of battery

modules in all the Class Vehicles now or on a specific date.” (FAC ¶ 60). This is

patently false: Any affected battery modules showing anomalies will be replaced

through the recall, and software will be installed to monitor for any future anomalies.

(Ex. A, Recall Report at p. 3). But even accepting Plaintiffs’ allegations as true, they

have failed to state a claim for relief.

      Plaintiffs bring the following claims:

 Count I       Fraudulent concealment and omission
 Count II      Negligent misrepresentation/omission
 Count III     Breach of the implied warranty of merchantability
 Count IV      California’s Unlawful Competition Law (“UCL”), Cal. Bus. & Prof.
               Code § 17200 et seq. (on behalf of Plaintiffs Williams and Palefsky
               only)
 Count V       California Consumers Legal Remedies Act (“CLRA”), Cal. Civ.
               Code § 1750 et seq. (on behalf of Plaintiffs Williams and Palefsky
               only)
 Count VI      Georgia Fair Business Practices Act (“GFBPA”), O.C.G.A. § 10-1-
               390 et seq. (on behalf of Plaintiff Chandler-Ward only)
 Count VII     Breach of express warranty

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These claims fail for the following reasons:

      First, Counts I, II, and III should be dismissed as to Plaintiffs Kukrika and

Lanez because: (1) Counts I and II are barred by the economic loss rule; (2) Counts

I and II fail because there is no special relationship between PCNA and these

Plaintiffs and no duty to disclose; and (3) Counts II and III are time-barred by the

applicable statutes of limitation.

      Second, Count III should be dismissed as to Plaintiffs Williams and Palefsky

because they were not in privity with PCNA.

      Third, Count II should be dismissed as to Plaintiffs Chandler-Ward, Williams,

and Palefsky because they only assert omissions, not affirmative misrepresentations.

      Fourth, Count VII should be dismissed because: (1) the express warranty

does not cover design defects and (2) Plaintiffs failed to give PCNA pre-suit notice

and a reasonable opportunity to cure.

      Fifth, Count I fails because Plaintiffs fail to sufficiently plead facts

demonstrating PCNA’s intent to defraud.

      Sixth, Counts II and VI should be dismissed because Plaintiffs fail to

sufficiently allege reliance on any misrepresentation by PCNA.

      Seventh, Counts I, IV, and V should be dismissed because Plaintiffs do not

sufficiently allege that PCNA knew of the alleged defect before Plaintiffs purchased

their vehicles.


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       Eighth, Plaintiffs’ request for injunctive and equitable relief “in the form of a

comprehensive program to adequately repair or replace the batteries in all Class

Vehicles, and/or buyback all Class Vehicles” (FAC at p. 87), should be dismissed in

deference to NHTSA’s ongoing recall under the doctrine of primary jurisdiction.

       Thus, because these claims fail 2 and any further attempts at amendment would

be futile, PCNA respectfully requests that the Court dismiss them with prejudice.

II.    FACTUAL BACKGROUND
       PCNA imports and distributes Porsche vehicles to be sold through a network

of independent dealers in the United States, including the all-electric Taycan. (See

FAC ¶ 19; id. at 7 n.6 (noting that PCNA “is the exclusive U.S. importer of” of

Porsche vehicles)). PCNA does not sell vehicles directly to consumers.

       Plaintiff Miodrag Kukrika (“Kukrika”), a resident and citizen of

Pennsylvania, alleges he purchased a new 2020 Taycan 4S on June 26, 2020, from

Autohaus Lancaster, an independent Porsche dealership in Pennsylvania. (FAC ¶¶

10, 69). Kukrika asserts that before buying his car, he spoke with the salesperson at

the dealership about the Taycan’s features who “never disclosed the Battery Defect

to him or that the Battery Defect would materially affect his vehicle’s capabilities or

advertised features[.]” (Id. ¶ 69). Kukrika claims that in June 2024, an error message



2
 PCNA seeks dismissal of all claims except for Chandler-Ward’s claim for breach
of implied warranty of merchantability.
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displayed in his vehicle, and he arranged for the vehicle to be taken to Porsche’s

facilities in Lancaster, where Porsche replaced cells in the battery. (Id. ¶¶ 71–72).

      Plaintiff CeWyon Chandler-Ward (“Chandler-Ward”), a resident and citizen

of Georgia, alleges she purchased a new 2022 Taycan, which was delivered on

January 29, 2022, from Porsche Atlanta Perimeter, an independent Porsche

dealership in Georgia. (Id. ¶¶ 11, 75). Plaintiff Timothy Williams (“Williams”) and

Joshua Palefsky (“Palefsky”) (collectively “California Plaintiffs”) are residents and

citizens of California. (Id. ¶¶ 12–13). Williams alleges he purchased a certified pre-

owned 2020 Taycan in June 2024 from Porsche Ontario, an independent Porsche

dealership in California. (Id. ¶ 81). Palefsky alleges that he leased on June 28, 2024,

and then purchased on November 9, 2024, a new 2023 Taycan from Porsche Marin,

an independent Porsche dealership in California. (Id. ¶ 86). Plaintiff Gregg Lanez

(“Lanez”), a resident and citizen of New Jersey, alleges he purchased a new 2020

Taycan 4S on September 5, 2020, from Jack Daniels Porsche, an independent

Porsche dealership in New Jersey. (Id. ¶¶ 14, 93). Plaintiffs Chandler-Ward, Lanez,

and the California Plaintiffs each claim that prior to purchase, they “researched and

reviewed the representations and promotional materials . . . on the Internet, including

the Porsche website, regarding [their vehicle’s] advertised features.” (Id. ¶¶ 76, 82,

87, 94). They also allege they contacted the independent Porsche dealers in their

respective states to address the Battery Defect. (Id. ¶¶ 79, 84, 91, 97).


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      The Taycan is Porsche’s first fully electric sports car. (Id. ¶ 19). The battery

of a Taycan is made up of modules, which are groups of battery cells connected

together to provide a higher voltage and capacity. (Id. ¶ 27). Plaintiffs allege that

“[b]ecause [lithium-ion batteries] can store significant amounts of energy, they can

overheat, which can result in a fire or explosion,” and that “[o]verheating can result

from short circuiting in a battery cell within the battery’s module.” (Id. ¶ 34). They

allege the “Battery Defect in the Class Vehicles causes the modules to fail or short

circuit” and “a short circuit . . . increases the risk of a fire or thermal event.” (Id. ¶

35). They further allege the Battery Defect is a “manufacturing defect present in the

vehicles before they leave the plant and are ever driven.” (Id. ¶ 44).

      PCNA has initiated five recalls related to the risk of Taycan high-voltage

batteries experiencing short circuits within the battery modules. (See id. ¶¶ 55–61).

PCNA submitted the most recent recall (hereinafter “Recall No. ARB6/ARB7”) to

NHTSA—the federal agency responsible for managing vehicle recalls in the United

States—on October 1, 2024. (See Ex. A, Recall Report).3 Recall No. ARB6/ARB7




3
  Courts may consider documents incorporated into the complaint by reference and
matters of which a court may take judicial notice. See Baker v. City of Madison, 67
F.4th 1268, 1276 (11th Cir. 2023). Plaintiffs discuss this recall in the First Amended
Complaint, and it is central to their claims. (See, e.g., FAC ¶¶ 60–61). PCNA also
requests that the Court take judicial notice of this document. See Ward-Richardson
v. FCA US LLC, 690 F. Supp. 3d 1372, 1375 n.2 (N.D. Ga. 2023) (taking judicial
notice of certain documents created and distributed as part of a vehicle recall).

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supplements the previous voluntary recalls initiated by PCNA (id. at 1–2) and is the

recall applicable to the Plaintiffs’ vehicles (FAC ¶¶ 74, 78, 83, 89–90, 96).

      Pursuant to Recall No. ARB6/ARB7, on-board diagnostic software will be

installed to detect any future battery module anomalies. (Ex. A, Recall Report at p.

3). Prior to installing the on-board diagnostic software, the high-voltage battery

modules will be analyzed. (Id.). If this analysis shows anomalies, then the affected

high-voltage battery module will be replaced prior to the installation of the on-board

diagnostic software. (Id.). The on-board diagnostic software will use data analytics

to detect future anomalies in high-voltage battery modules. (Id.). If an anomaly is

detected, the vehicle will display a warning message and will limit the high-voltage

battery charging capacity, and PCNA will replace the affected high-voltage battery

modules. (Id.). As the high-voltage battery consists of several modules, it is possible

that some modules need replacement, but not others. (Id.).

      The express warranty applicable to Plaintiffs’ vehicles is outlined in the

Warranty and Customer Information Booklet for the Model Year 2020 Taycan

(“Warranty Booklet”), attached hereto as Ex. B. 4 The express warranty states:


4
  The Court may consider this document because it is referenced by Plaintiffs in the
Complaint and central to their claims for breach of express warranty and breach of
the implied warranty of merchantability. (See FAC ¶ 161 (alleging PCNA extended
an express warranty to Plaintiffs and Class members); id. ¶¶ 207–228 (alleging
PCNA breached the express warranty)); see also Baker, 67 F.4th at 1276.
Additionally, PCNA requests that the Court consider this document by taking

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        PCNA requires that you first provide PCNA itself with direct written
        notice of any alleged unrepaired defect or malfunction, or any other
        dissatisfaction you have experienced with your vehicle so that PCNA
        itself has the opportunity to cure the problem or dissatisfaction. Giving
        PCNA itself this direct notice and opportunity to cure enables us to
        supplement prior efforts by our authorized dealers so any ongoing
        problem can be resolved or the dissatisfaction addressed by us.

(Id. at p. 1). The express warranty also states that it “does not cover defects based on

design.” (Id. at p. 4).

III.    LEGAL STANDARD

        In reviewing a complaint under Rule 12(b)(6), a court applies a “plausibility

standard” guided by “[t]wo working principles.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). First, “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id.; see also Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Second, “only a complaint that states

a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S. at 679. “A

claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. at 678. “[C]onclusory allegations, unwarranted deductions of facts or




judicial notice of it. See King v. Akima Glob. Servs., LLC, 775 F. App’x 617, 621
(11th Cir. 2019) (“A court may take judicial notice of a fact that is not subject to
reasonable dispute when . . . [it] can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned. (citing Fed. R. Evid.
201(b))).
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legal conclusions masquerading as facts will not prevent dismissal.” Oxford Asset

Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

         Additionally, “[t]o survive a motion to dismiss, claims [sounding in] fraud

must satisfy the requirements of Rule 9(b).” Omnipol, A.S. v. Multinational Def.

Servs., LLC, 32 F.4th 1298, 1307 (11th Cir. 2022). That means Plaintiffs “must state

with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P.

9(b); see also Bolling v. Mercedes-Benz USA, LLC, 713 F. Supp. 3d 1376, 1402 (N.D.

Ga. 2024). Rule 9(b)’s heightened pleading standard applies to Plaintiffs’ claims for

fraudulent concealment or omission, 5 negligent misrepresentation/omission,6 and

violations of the CLRA and UCL. 7

IV.      CHOICE OF LAW
         Federal courts sitting in diversity apply the forum state’s choice-of-law rules.

nVision Global Tech. Sols., Inc. v. Cardinal Health 5, LLC, 887 F. Supp. 2d 1240,

1271 (N.D. Ga. 2012) (citing Boardman Petrol., Inc. v. Federated Mut. Ins. Co., 135

F.3d 750, 752 (11th Cir. 1998)). Here, applying Georgia’s choice of law rules, the


5
    See, e.g., Omnipol, A.S., 32 F.4th at 1307.
6
 See, e.g., Quashie v. Olympus Am., Inc., 315 F. Supp. 3d 1329, 1340 n.7 (N.D. Ga.
2018); Hanover Ins. Co. v. Ryan, 619 F. Supp. 2d 127, 142 (E.D. Pa. 2007);
D’Addario v. Johnson & Johnson, 2023 U.S. Dist. LEXIS 8483, at *16 (D.N.J. Jan.
18, 2023); Miller v. Allstate Ins. Co., 489 F. Supp. 2d 1133, 1139 (S.D. Cal. 2007).
7
 See Bolling, 713 F. Supp. 3d at 1411 (applying Rule 9(b) to CLRA claim); Zarrella
v. Pac. Life Ins. Co., 809 F. Supp. 2d 1357, 1365 n.4 (Aug. 22, 2011) (applying Rule
9(b) to UCL claim).
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laws of Plaintiffs’ states of residence will govern their claims. Below is a chart

outlining the law that should apply to each claim:

          COUNT                 Kukrika    Chandler Williams     Lanez
                                            -Ward   & Palefsky
 Count I: Fraudulent          Pennsylvania Georgia  California New Jersey
 Concealment and
 Omission
 Count II: Negligent          Pennsylvania Georgia         California   New Jersey
 Misrepresentation/
 Omission
 Count III: Breach of the     Pennsylvania Georgia         California   New Jersey
 Implied Warranty of
 Merchantability
 Count IV: UCL                N/A               N/A        California   N/A
 Count V: CLRA                N/A               N/A        California   N/A
 Count VI: GFBPA              N/A          Georgia         N/A          N/A
 Count VII: Breach of         Pennsylvania Georgia         California   New Jersey
 Express Warranty

      In analyzing choice of law, Georgia courts apply the rules of lex loci

contractus (contract disputes are governed by the “substantive law of the state where

the contract was made”) and lex loci delecti (tort disputes are “governed by the

substantive law of the state where the tort was committed”). Rayle Tech, Inc. v.

DEKALB Swine Breeders, Inc., 133 F.3d 1405, 1409 (11th Cir. 1998). Georgia’s

choice-of-law analysis is unique, however, in that, typically, “the application of

another jurisdiction’s laws is limited to statutes and decisions construing those

statutes.” Frank Briscoe Co. v. Ga. Sprinkler Co., 713 F.2d 1500, 1503 (11th Cir.

1983). But, while “Georgia law is the default” for claims arising under common law,

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“that does not end the analysis.” Parker v. Perdue Foods, LLC, 2024 U.S. Dist.

LEXIS 155882, at *17 (M.D. Ga. Aug. 29, 2024). Georgia courts will refrain from

applying Georgia law if its application would be inconsistent with due process. See

id.; Peterson v. Aaron’s, Inc., 2017 U.S. Dist. LEXIS 10117, at *14 (N.D. Ga. Jan.

24, 2017).

      Counts III through VII are all created by statute:

             COUNT                                    Statute(s)

 Count III: Breach of          13 Pa. Cons. Stat. Ann. § 2314; O.C.G.A. § 11-2-314;
 Implied Warranty of           Cal. Com. Code § 2314; N.J. Stat. § 12A:2-314.
 Merchantability
 Count IV: UCL                 Cal. Bus. & Prof. Code § 17200 et seq.
 Count V: CLRA                 Cal. Civ. Code § 1750 et seq.
 Count VI: GFBPA               O.C.G.A. § 10-1-390 et seq.
 Count VII: Breach of          13 Pa. Cons. Stat. Ann. § 2313 et seq.; O.C.G.A. §
 Express Warranty              11-2-313 et seq.; Cal. Com. Code § 2313 et seq.; N.J.
                               Stat. § 12A:2-313 et seq.

Accordingly, each Plaintiff’s home state’s law applies to these claims. See Frank

Briscoe Co., 713 F.2d at 1503; (FAC ¶¶ 10–14 (Plaintiffs’ states of residence)).

      Plaintiffs’ common law claims (Counts I and II) are likewise governed by the

laws of each Plaintiff’s home state because it would violate due process to apply

Georgia law to the claims of the non-Georgia plaintiffs. To apply Georgia law

consistent with due process, Georgia must have “significant contact or significant

aggregation of contacts to the claims asserted by each [member of the plaintiff class],

contacts creating state interests, in order to ensure that the choice of [Georgia] law

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is not arbitrary or unfair.” See Krise v. Sei/Aaron’s, Inc., 2017 U.S. Dist. LEXIS

133818, at *23 (N.D. Ga. Aug. 18, 2017). It is not sufficient that PCNA maintains

its headquarters in Georgia. See, e.g., Peterson, 2017 U.S. Dist. LEXIS 10117, at

*15. Instead, for Georgia law to apply to the non-Georgia Plaintiffs, they must show

that they “interacted with Georgia in a significant way, in relation to the underlying

claims.” Parker, 2024 U.S. Dist. LEXIS 155882, at *19.

      Here, Georgia law can permissibly be applied to the claims of Chandler-Ward,

who is a resident and citizen of Georgia, purchased her vehicle in Georgia, and

contacted a dealership in Georgia to repair her battery. (See FAC ¶¶ 11, 75, 79). But

the claims of the non-Georgia Plaintiffs have no connection to Georgia and instead

center in their states of residence. These Plaintiffs reside in and are citizens of

California, New Jersey, and Pennsylvania; viewed and/or relied on materials or

statements in those states; purchased their vehicles in those states; and contacted

dealers in those states to address the alleged defect. (See FAC ¶¶ 10, 12–14, 64–65,

67, 81, 84, 86, 91, 93, 97). Moreover, there are no allegations that the vehicles or

batteries were designed, developed, or manufactured in Georgia, nor could there be

because PCNA did not design, develop, or manufacture the vehicles or batteries at

issue. Because all the conduct relevant to the non-Georgia Plaintiffs’ claims occurred

outside of Georgia, the application of Georgia law would be inconsistent with due

process, arbitrary, and unfair. See Krise, 2017 U.S. Dist. LEXIS 133818, at *23–24.


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Further, applying Georgia law to these non-Georgia Plaintiffs’ claims would offend

the public policy against forum-shopping by improperly allowing them to take

advantage of more favorable laws that have no connection to their claims. See

Manuel v. Convergys Corp., 2004 U.S. Dist. LEXIS 29879, at *9 (N.D. Ga. Oct. 18,

2004) (holding forum shopping occurs when a litigant selects a forum with only a

slight connection to the factual circumstances of his action). Accordingly, each

Plaintiff’s home state’s laws govern Counts I and II.8

V.    ARGUMENT
          A. Counts I, II, and III Should Be Dismissed as to Kukrika and Lanez
                 1. Counts I and II are Barred by the Economic Loss Rule.

      Both Pennsylvania and New Jersey adhere to the economic loss rule. Under

Pennsylvania’s economic loss rule, where a product injured only itself, and not any

person or other property, the loss was purely economic, and any claim arising out of

the loss sounded in contract—not tort. See Lucker Mfg. v. Milwaukee Steel Foundry,

777 F. Supp. 413, 414 (E.D. Pa. 1991). Similarly, under New Jersey law, the

economic loss rule “preclude[s] plaintiffs from recovering under fraud and other


8
  To the extent the Court disagrees, given that no discovery has occurred, PCNA
respectfully requests that the Court’s choice of law ruling be without prejudice to
PCNA’s right to argue at a later stage of the case (including at summary judgment
and/or class certification) that the laws of the states of residence of the Plaintiffs (and
putative class members) apply. See Ortiz v. Fibreboard Corp., 527 U.S. 815, 845
(1999) (holding that, under the Rules Enabling Act, Fed. R. Civ. P. 23 cannot
“abridge, enlarge or modify any substantive right”) (internal quotation marks
omitted).
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intentional tort theories of liability where the tort claims are based on the same facts

as the breach of contract claims.” Ponzio v. Mercedes-Benz USA, LLC, 447 F. Supp.

3d 194 , 236 (D.N.J. 2020).

      Under this doctrine, courts applying Pennsylvania and New Jersey law

routinely dismiss fraudulent concealment and negligent misrepresentation/omission

claims. See, e.g., Whitaker v. Herr Foods, Inc., 198 F. Supp. 3d 476, 490–92 (E.D.

Pa. 2016) (dismissing fraud and negligent misrepresentation claims); In re Subaru

Battery Drain Prods. Liab. Litig., 2021 U.S. Dist. LEXIS 62373, at *87 (D.N.J. Mar.

31, 2021) (dismissing fraudulent concealment claim); Roe v. Ford Motor Co., 2021

U.S. Dist. LEXIS 114890, at *34 (E.D. Mich. June 21, 2021) (explaining that, based

on New Jersey case law, “the economic-loss doctrine bars negligent-

misrepresentation claims”) (collecting cases). The same result follows here, because

Kukrika and Lanez seek purely economic damages and do not allege personal injury

or damage to other property. (See FAC ¶¶ 133, 152 (alleging Plaintiffs’ economic

losses under Counts II and III)).

      There is an exception to Pennsylvania’s economic loss rule where “a

defendant committed fraud to induce another to enter a contract.” See Reilly Foam

Corp. v. Rubbermaid Corp., 206 F. Supp. 2d 643, 658 (E.D. Pa. 2002). This

inducement exception does not save Kukrika’s claims, however, because it is only

available when a party makes a representation extraneous to the contract; it is not


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applicable when the representations concern the subject matter of the contract or

the party’s performance. See id. at 659. All of PCNA’s alleged misrepresentations

and omissions concern the subject matter of the express warranty, so the inducement

exception does not apply. See Whitaker, 198 F. Supp. 3d at 491 (“Plaintiff’s

economic losses are therefore based on and flow from his loss of the benefit of his

bargain and his disappointed expectations as to the products he purchased. This harm

is precisely that which a warranty action seeks to redress.”).

      New Jersey recognizes an exception to the economic loss rule for affirmative

fraudulent misrepresentations, but that exception does not apply to claims of

fraudulent concealment or omission. Weston v. Subaru of Am., Inc., 2022 U.S. Dist.

LEXIS 95799, at *19 (D.N.J. May 26, 2002). Because Lanez only alleges fraudulent

concealment—not affirmative fraudulent misrepresentations—this exception does

not apply. (See FAC ¶¶ 115–33). Additionally, while a tort remedy may arise from

a contractual relationship under New Jersey law where the breaching party owes an

independent duty imposed by law, Lanez has failed to sufficiently plead that PCNA

owed him any duty independent of the express warranty. See Saltiel v. GSI

Consultants, Inc., 788 A.2d 268, 280 (N.J. 2002).

                2. Counts I and II Also Fail Because There is No Special
                   Relationship and No Duty to Disclose.

      Both New Jersey and Pennsylvania courts have expressly precluded negligent

misrepresentation claims absent a “special relationship.” See Schechter v. Hyundai

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Motor Am., 2020 U.S. Dist. LEXIS 55598, at *45–46 (D.N.J. Mar. 31, 2020); see

also Brunner v. Util. Fleet Sales, Ltd., 2019 Pa. Dist. & Cnty. Dec. LEXIS 3713,

*14–15 (Pa. Ct. Comm. Pls. Oct. 2, 2019). As courts in these states recognize, there

is no “special relationship” between a buyer and seller (let alone distributor) of a

product. See Schechter, 2020 U.S. Dist. LEXIS 55598, at *48. Similarly, New Jersey

and Pennsylvania fraudulent concealment claims require a fiduciary or confidential

relationship to impose a duty to disclose, which does not exist in arms-length

transactions. Cohen v. Subaru of Am., Inc., 2022 U.S. Dist. LEXIS 42511, at *53–

54, *64 (D.N.J. Mar. 10, 2022) (dismissing fraudulent concealment claim under New

Jersey and Pennsylvania law).

                3. Counts II and III Should be Dismissed as Time-Barred by
                   the Applicable Statutes of Limitation.

      “Under Georgia choice of law, foreign statutes of limitations are procedural

in nature. Thus, a federal court sitting in diversity applies the applicable Georgia

statute of limitations and tolling provision.” See Krise, 2017 U.S. Dist. LEXIS

133818, at *16 n.89 (citations omitted). 9 Georgia’s statutes of limitation for

negligent misrepresentation and breach of implied warranty claims are four years



9
  PCNA reserves its right to challenge the application of Georgia’s statutes of
limitations to the putative nationwide class. See, e.g., Peterson, 2017 U.S. Dist.
LEXIS 10117, at *14–15, *18 (holding that foreign states’ substantive law applied
to non-Georgia class members and pointing to different limitations periods as an
example of state law variations precluding a finding of predominance).

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after the right of action accrues. See O.C.G.A. §§ 9-3-31 (negligent

misrepresentation), 11-2-725 (implied warranty). “The cause of action accrues when

a plaintiff could first institute and maintain her action to a successful result.” Slade

v. Chrysler Corp., 36 F. Supp. 2d 1370, 1372 (M.D. Ga. 1998) (emphasis added).

      Kukrika and Lanez assert that their claims arise from PCNA’s alleged conduct

before or at the time they purchased their vehicles, and that they would not have

purchased their vehicles (or would have paid less for them) had the omitted

information been disclosed. (FAC ¶¶ 77, 95). As a result, Kukrika’s and Lanez’s

negligent misrepresentation and breach of implied warranty claims accrued on the

date they purchased their vehicles. See Coe v. Proskauer Rose, LLP, 878 S.E.2d 235,

243 (Ga. 2022) (holding that negligent misrepresentation claim accrued at the time

the plaintiff did not receive the benefit of his bargain as a result of the

misrepresentation); McCabe v. Daimler AG, 948 F. Supp. 2d 1347, 1361 (N.D. Ga.

2013) (“[I]mplied-warranty claims accrued when their vehicles were first sold”).

      Kukrika, who purchased his vehicle on June 26, 2020 (FAC ¶ 10), had until

June 26, 2024, to file suit on these causes of action. Lanez purchased his vehicle on

September 5, 2020 (id. ¶ 14), and had until September 5, 2024, to file these causes

of action. But the original Complaint was not filed until November 29, 2024. (Dkt.

1). Accordingly, these claims are presumptively time-barred. See Baker v. GOSI

Enters., 830 S.E.2d 765, 769–70 (Ga Ct. App. 2019) (negligent misrepresentation


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claim time-barred); Paws Holdings v. Daikin Indus., 2017 U.S. Dist. LEXIS 24684,

at *41 (S.D. Ga. Feb. 22, 2017) (implied warranty claim time-barred).

      Moreover, the statute of limitations was not tolled. Under Georgia law, “[i]f

the defendant [is] guilty of a fraud by which the plaintiff has been debarred or

deterred from bringing an action, the period of limitation shall run only from the

time of the plaintiff’s discovery of the fraud.” See O.C.G.A. § 9-3-96. Georgia courts

have consistently held that this tolling exception must be “strictly construed.” See

Kemp v. Bell-View, Inc., 346 S.E.2d 923, 924 (Ga. Ct. App. 1986). Where the

underlying action is not a claim of fraud, such as claims for negligence or breach of

warranty, the limitations period may be tolled only where the plaintiff shows: “(1)

[a separate and independent] actual fraud involving moral turpitude, or (2) a

fraudulent breach of a duty to disclose that exists because of a relationship of trust

and confidence.” Curry v. TD Ameritrade, Inc., 2015 U.S. Dist. LEXIS 191684, at

*47 (N.D. Ga. June 29, 2015) (citing Goldston v. Bank of Am. Corp., 577 S.E.2d

864, 868–69 (Ga. Ct. App. 2003)). The party alleging fraud has the “burden of

showing the existence of facts that would toll the statute of limitation.” See

Robertson v. Robertson, 778 S.E.2d 6, 10 (Ga. Ct. App. 2015). Furthermore, these

allegations must be pleaded with particularity. See In re Atlas Roofing Corp. Chalet

Shingle Prods. Liab. Litig., 2018 U.S. Dist. LEXIS 121185, at *13 (N.D. Ga. July

19, 2018). Because Kukrika and Lanez do not allege a confidential relationship


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between themselves and PCNA or facts to support the conclusion that such

relationship exists,10 they must establish a separate and independent actual fraud

involving moral turpitude to toll the statute of limitation for Counts II and III. See

Curry, 2015 U.S. Dist. LEXIS 191684, at *47 (citation omitted). Their allegations

are insufficient.

      They allege that any statutes of limitations for their claims are “tolled by

Defendant’s knowing and active concealment of the Battery Defect in the Class

Vehicles.” (FAC ¶ 100). But concealing a cause of action, even if done with

fraudulent intent, does not amount to a separate and independent actual fraud. “To

establish a separate and independent actual fraud, Plaintiff must show that the

defendant concealed information by an intentional act—something more than a

mere failure, with fraudulent intent, to disclose such conduct.” Curry, 2015 U.S.

Dist. LEXIS 191684, at *47–48 (emphasis added) (citation omitted). 11 Here,

Kukrika and Lanez do not point to even one specific example of an intentional or



10
   See O.C.G.A. § 23-2-58 (defining confidential relationships as those “where one
party is so situated as to exercise a controlling influence over the will, conduct, and
interest of another or where, from a similar relationship of mutual confidence, the
law requires the utmost good faith, such as . . . fiduciary relationships”).
11
   See also Wilson v. Phillips, 495 S.E.2d 904, 905 (Ga. Ct. App. 1998) (“Moreover,
to toll the statute of limitation under O.C.G.A. § 9-3-96, the concealment of a cause
of action must be by positive affirmative act, not by mere silence.”) (emphasis
added); Ball v. Kuenz GmbH, 742 F. Supp. 3d 1264, 1269 (N.D. Ga. 2024)
(“Plaintiff’s allegations that the Kuenz Defendants concealed risks associated with
the crane do not constitute actual fraud.”).

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affirmative act to conceal on the part of PCNA, and their unsupported and

conclusory allegations that PCNA’s concealment was “knowing and active” are not

enough to show actual fraud. Instead, these allegations are precisely the types of

“threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements” which do not suffice to state a claim which is plausible on

its face. See Jones v. Gen. Motors LLC, 2023 U.S. Dist. LEXIS 63757, at *10 (N.D.

Ga. March 8, 2023) (finding statute of limitations was not tolled) (citations omitted).

      Moreover, even if Kukrika and Lanez had pled a separate and independent

actual fraud, they still needed to “show how this alleged fraud concealed [their]

cause[s] of action.” Ball, 742 F. Supp. 3d at 1270. To constitute concealment of a

cause of action, “some trick or artifice must be employed to prevent inquiry or elude

investigation, or to mislead and hinder the party who has the cause of action from

obtaining information, and the acts relied on must be of an affirmative character and

fraudulent.” Id. But here, Kukrika and Lanez do not allege that PCNA used any such

“trick or artifice” to conceal their causes of action, nor do they describe how any

alleged actual fraud on the part of PCNA concealed their causes of action. They

claim PCNA “kept Plaintiff and all Class members ignorant of vital information

essential to the pursuant of their claim,” (FAC ¶ 100), but the FAC is devoid of any

factual allegations showing how PCNA’s alleged conduct deterred or debarred them

from discovering the acts on which their causes of action are based. Absent such


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allegations, they have failed to meet their burden to establish that the statutes of

limitations should be tolled.

      Because Kukrika and Lanez have failed to allege with any preciseness the

intentional or affirmative acts that PCNA undertook to conceal the alleged defect,

their “allegations fall far short of pleading the alleged fraud with the required

particularity, and thus are insufficient to toll the statute of limitations. This is

especially true given the fact that this exception to statute of limitations is narrowly

construed.” In re Atlas Roofing Corp., 2018 U.S. Dist. LEXIS 121185, at *14; see

also Toto v. Bank of Am., N.A., 2014 U.S. Dist. LEXIS 193001, at *10 (N.D. Ga.

Nov. 7, 2014). Accordingly, for the reasons stated above, Counts I, II, and III should

be dismissed as to Kukrika and Lanez.

          B. Count III Should Be Dismissed as to Williams and Palefsky
             Because They Were Not in Privity with PCNA.

      Under California law, a plaintiff asserting a claim for breach of implied

warranty must be in vertical privity with the defendant. See, e.g., Clemens v.

DaimlerChrysler Corp., 534 F.3d 1017, 1023 (9th Cir. 2008). California Plaintiffs’

breach of implied warranty claims fail because there is no privity between them and

PCNA since PCNA is the distributor and not the manufacturer. (FAC at 7 n.6); see

also Osborne v. Subaru of Am., Inc., 198 Cal. App. 3d 646, 656 n.6 (1988) (“The

term vertical privity refers to links in the chain of distribution of goods . . . the



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distributor is normally in vertical privity with the manufacturer, and the ultimate

retail buyer is normally in vertical privity with the dealer.”).

      California Plaintiffs allege that they are in privity with PCNA (or that privity

is not required) because: (1) they had sufficient direct dealings with PCNA or its

agents; (2) PCNA provided express warranties to Plaintiffs; (3) PCNA made direct

representations to Plaintiffs regarding the safety of Class Vehicles; (4) Plaintiffs are

intended third-party beneficiaries; and (5) the Class Vehicles are dangerous

instrumentalities. (See FAC ¶¶ 159–63). While California recognizes various

exceptions to the privity requirement for implied warranty claims, California

Plaintiffs’ allegations are insufficient to qualify for any of these exceptions.

      First, California Plaintiffs do not meet the direct dealings exception. While

“direct dealings between a purchaser and manufacturer after the purchase are

generally insufficient to create an exception to the privity requirement,” where the

manufacturer “essentially adopts and benefits from the initial sales negotiations and

there are numerous direct dealings between the parties, the requisite privity can be

established.” Cardinal Health 301, Inc. v. Tyco Elecs. Corp., 169 Cal. App. 4th 116,

143 (2008) (emphasis added). Although California Plaintiffs allege that they have

had “sufficient direct dealings” to establish privity of contract (FAC ¶ 159), they do

not allege how many direct dealings they had, nor that there were numerous direct

dealings as required by California law. Further, they fail to allege any facts regarding


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their supposed “direct dealings” with PCNA nor any of the factual elements for

agency to establish their allegation that they have had “sufficient direct dealings”

with PCNA’s agents. (FAC ¶ 159); see also In re Carrier IQ, Inc., Consumer Priv.

Litig., 78 F. Supp. 3d 1051, 1105–06 (N.D. Cal. 2015)

      Second, California Plaintiffs’ allegations that they are in privity with PCNA

because of the warranties PCNA agreed to and extended to them (FAC ¶¶ 160–61),

do not save this claim. California’s privity requirement for an implied warranty

claim is not “relaxed” simply because Plaintiffs also assert an express warranty

claim. In re Sony PS3 Other OS Litig., 2011 U.S. Dist. LEXIS 16024, at *13 (N.D.

Cal. Feb. 17, 2011) (explaining that relaxing the privity requirement where a plaintiff

alleged reliance on an express warranty is “not consistent with clear California

precedent that privity remains a requirement in implied warranty claims”).

      Third, California Plaintiffs’ allegation that PCNA made direct representations

to them regarding the safety of Class Vehicles (FAC ¶ 161) does not excuse the

privity requirement. Not only is this allegation conclusory, but the only alleged

representation regarding safety pled in the FAC is in PCNA’s advertising. (See FAC

¶ 28). And although there is an advertising exception to the privity requirement, the

California Supreme Court has explicitly held that this exception is “only applicable

to express warranties.” Bhatt v. Mercedes-Benz USA, LLC, 2018 U.S. Dist. LEXIS




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214401, at *7 (C.D. Cal. Apr. 16, 2018) (citing Burr v. Sherwin Williams Co., 42

Cal. 2d 682, 696 (1954)).

      Fourth, California Plaintiffs’ allegation that privity is not required because

they are the intended third-party beneficiaries (FAC ¶ 162) fails because they do not

allege the facts of the underlying putative contracts of which they purport to be

intended third-party beneficiaries. See Carrier IQ, 78 F. Supp. 3d at 1106; see also

Wong v. Am. Honda Motor Co., 2024 U.S. App. LEXIS 3423, at *3 (9th Cir. Feb.

14, 2024).

      Fifth, California Plaintiffs’ allegation that privity is not required under the

dangerous instrumentality exception (FAC ¶ 163) fails because they have only

alleged economic losses and no personal injuries. In re Toyota Motor Corp.

Unintended Acceleration Mktg., Sales Practices, & Prods. Liab. Litig., 754 F. Supp.

2d 1145, 1185–86 (C.D. Cal. 2010) (declining to apply “dangerous

instrumentalities” exception in economic loss case involving alleged defects in

plaintiffs’ vehicles). Thus, Count III must be dismissed as to the California Plaintiffs.

          C. Count II Should Be Dismissed as to Chandler-Ward, Williams, and
             Palefsky Because They Only Assert Omissions Were Made.

      Under California law, a “negligent misrepresentation claim ‘requires a

positive assertion,’ not merely an omission.” Lopez v. Nissan N. Am., Inc., 201 Cal.

App. 4th 572, 596 (2011). Federal courts have interpreted Georgia law to require the

same. See Intellicig U.S. v. CN Creative, Ltd., 2017 U.S. Dist. LEXIS 235128, at

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*24 n.6 (N.D. Ga. Mar. 6, 2017); Ali v. Fleet Fin., Inc. of Ga., 500 S.E.2d 914, 915

(Ga. Ct. App. 1998). Because no California or Georgia Plaintiff cites a specific

assertion PCNA made concerning the alleged Battery Defect, their negligent

misrepresentation claims fail as a matter of law.

         D. Count VII Should Be Dismissed as to All Plaintiffs.
                1. Design Defects are not Covered by the Express Warranty.

      The express warranty “does not cover defects based on design.” (Ex. B,

Warranty Booklet at p. 4). Therefore, to the extent Plaintiffs are asserting a design

defect, it should be dismissed as disclaimed by the express warranty. See Ruffin v.

Fleetwood Motor Homes, 1997 U.S. Dist. LEXIS 19374, at *16 (E.D. Pa. Dec. 3,

1997); In re Atlas Roofing Corp., 2018 U.S. Dist. LEXIS 121185, at *5–6; Hindsman

v. GM LLC, 2018 U.S. Dist. LEXIS 92319, at *23–24 (N.D. Cal. June 1, 2018);

Tijerina v. Volkswagen Grp. of Am., Inc., 2023 U.S. Dist. LEXIS 187865, at *39

(D.N.J. Oct. 19, 2023).

                2. Plaintiffs Failed to Give PCNA Pre-Suit Notice and a
                   Reasonable Opportunity to Cure the Alleged Defect.

      Plaintiffs’ breach of express warranty claims should be dismissed because

they failed to provide PCNA with direct written notice and a reasonable opportunity

to cure as required by the express warranty. The express warranty states: “PCNA

requires that you first provide PCNA itself with direct written notice of any alleged

unrepaired defect or malfunction, or any other dissatisfaction you have experienced

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with your vehicle so that PCNA itself has the opportunity to cure the problem or

dissatisfaction.” (Ex. B, Warranty Booklet at p. 1). Courts addressing virtually

identical language have concluded that plaintiffs must give direct notice to the

defendant before filing suit for breach of warranty. See, e.g., Bolling, 713 F. Supp.

3d at 1395–96 (“Since the Plaintiffs Dedman and Phlegar have not alleged that they

informed MBUSA (as opposed to their dealers) of the defect prior to this lawsuit,

the Court will dismiss those Plaintiffs’ express warranty claim.”); Scattaglia v.

Mercedes-Benz USA, LLC, 2021 U.S. Dist. LEXIS 239889, at *28–29 (D.N.J. Dec.

15, 2021).

      None of the Plaintiffs allege that they provided PCNA with direct written

notice of the alleged defect so that PCNA had an opportunity to cure the problem.

And notifying an authorized dealer is not sufficient notice to PCNA. See, e.g.,

Bolling, 713 F. Supp. 3d at 1395 (“The notion that notifying an authorized dealer is

sufficient to notify MBUSA of the defect has been ‘considered and rejected.’”);

McCabe, 948 F. Supp. 2d at 1359-60. Therefore, the Court should dismiss Plaintiffs’

breach of express warranty claims.

         E. Count I Fails Because Plaintiffs Fail to Sufficiently Plead Facts
            Demonstrating PCNA’s Intent to Defraud.

      To state a claim for fraudulent concealment, Plaintiffs must allege intent to

defraud. Hanlon v. Thornton, 462 S.E.2d 154, 156 (Ga. Ct. App. 1995); Sevin v.

Kelshaw, 611 A.2d 1232, 1236 (Pa. Super. Ct. 1992); Garcia v. GM LLC, 2019 U.S.

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Dist. LEXIS 41955, at *20–21 (E.D. Cal. Mar. 14, 2019); Dantzler v. FCA U.S. LLC,

2022 U.S. Dist. LEXIS 202909, at *8 (D.N.J. Jan. 31, 2022). While intent may be

pled generally, to survive a motion to dismiss, a plaintiff must still have “pleaded

facts demonstrating . . . intent to defraud.” Garcia, 2019 U.S. Dist. LEXIS 41955, at

*16 (citation omitted). In the absence of specific factual allegations establishing

motive and opportunity, which Plaintiffs have not adequately alleged here, a plaintiff

must allege “facts that constitute strong circumstantial evidence of conscious

misbehavior or recklessness.” Am. Apparel USA, Ltd. Liab. Co. v. Forsythe Cosm.

Grp., Ltd., 2011 U.S. Dist. LEXIS 77537, at *8 (S.D.N.Y. July 7, 2011).

      In Garcia, for example, the court rejected conclusory, “boilerplate language

pleading GM’s intent to defraud,” which was “not supported with sufficient factual

bases.” 2019 U.S. Dist. LEXIS 41955, at *17, *27–28, *30. Here too, Plaintiffs have

not alleged any specific facts that would demonstrate PCNA’s intent to defraud.

Plaintiffs also have not alleged strong circumstantial evidence of “conscious

misbehavior” on PCNA’s part. Instead, as in Garcia, Plaintiffs repeatedly rely on

conclusory allegations that PCNA “knowingly” concealed facts with the “intent to

deceive.” (FAC ¶¶ 101, 126, 171, 199). These formulaic labels and conclusions are

insufficient to transform Plaintiffs’ disappointed expectations with their vehicles

into a fraudulent scheme. See Garcia, 2019 U.S. Dist. LEXIS 41955, at *17, *27–

28, *30.


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          F. Counts II and VI Fail Because Plaintiffs Do Not Sufficiently Allege
             Reliance on Any Misrepresentation by PCNA.
      Under Pennsylvania, California, New Jersey, and Georgia law, reliance is a

necessary element for a negligent misrepresentation claim. See Webb v. Volvo Cars

of N.A., LLC, 2018 U.S. Dist. LEXIS 49095, at *17 (E.D. Pa. Mar. 26, 2016); Bily

v. Arthur Young & Co., 3 Cal. 4th 370, 413 (1992); Kaufman v. i-Stat Corp., 754

A.2d 1188, 1195 (N.J. 2000); Tavistock Freebirds LLC v. Coca-Cola Co., 883

S.E.2d 388, 392 (Ga. Ct. App. 2023). And, as an allegation of fraud, negligent

misrepresentation is subject to a heightened pleading standard under Federal Rule of

Civil Procedure 9(b). See, e.g., Smith v. Ocwen Fin., 488 F. App’x 426, 428 (11th

Cir. 2012) (per curiam). Additionally, justifiable reliance is an essential element of

GFBPA claims. See, e.g., Crown Ford, Inc. v. Crawford, 473 S.E.2d 554, 557 (Ga.

Ct. App. 1996).

      Plaintiffs Chandler-Ward’s, Williams’, Palefsky’s, and Lanez’s vague

allegations about reading promotional materials do not establish reliance. 12 Plaintiffs

describe and quote from various promotional materials (FAC ¶¶ 21–29), but they

do not allege that any Plaintiff actually viewed those advertisements, specify what

they allegedly reviewed, or provide any details other than to say they reviewed things

regarding the “Taycan’s advertised features.” (See FAC ¶¶ 76, 82, 87, 94). These



 Plaintiff Kukrika does not allege that he relied on any promotional materials. (See
12

FAC ¶ 69 (alleging only conversations with the dealership)).
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cursory and ill-defined references to advertisements are not enough to establish

reliance. See, e.g., Tharpe v. Hyundai Motor Am., Inc., 2023 U.S. Dist. LEXIS

45613, at *24 (C.D. Cal. Mar. 16, 2023).

      Plaintiffs also cannot rely on communications with dealers to establish

reliance. (See FAC ¶¶ 69, 76, 82, 87, 94 (alleging that their dealers did not disclose

the alleged defect)). Plaintiffs attempt to impute vaguely alleged statements made

by Porsche dealers to PCNA by claiming such dealers acted as Porsche’s agents. But

an agency relationship cannot just be assumed—rather, specific facts must be pled.

Friedman v. Mercedes Benz USA LLC, 2013 U.S. Dist. LEXIS 187268, at *19 (C.D.

Cal. June 12, 2013); Keegan v. Am. Honda Motor Co., 838 F. Supp. 2d 929, 953

(C.D. Cal. 2012). And, even if agency had been sufficiently alleged, Plaintiffs have

not alleged with particularity who they spoke to at the dealer, when those discussions

occurred, or what specifically was said or concealed. This claim must be dismissed.

         G. Counts I, IV, and V Fail Because Plaintiffs Do Not Sufficiently
            Allege PCNA’s Presale Knowledge.
      For Plaintiffs to prevail on their fraudulent concealment claim (Count I) and

for California Plaintiffs to prevail on their statutory claims (Counts IV and V), they

must plausibly allege that PCNA had knowledge that the alleged Battery Defect

existed in their vehicles at the time Plaintiffs purchased. See Resnick v. Hyundai

Motor Am., Inc., 2016 U.S. Dist. LEXIS 160179, at *41, *49 (C.D. Cal. Nov. 14,

2016) (California fraud, UCL, and CLRA claims); Schechter v. Hyundai Motor Am.,

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2019 U.S. Dist. LEXIS 126021, at *26–27 (D.N.J. July 29, 2019) (New Jersey law

fraudulent concealment claims); Gibbs v. Ernst, 538 Pa. 193, 207 (1994)

(Pennsylvania fraud claim); ReMax N. Atlanta v. Clark, 244 Ga. App. 890, 894

(2000) (Georgia fraudulent omission claim).

      Plaintiffs allege PCNA had knowledge of the defect based on: (1) presale

testing; (2) complaints directed at PCNA, dealers, NHTSA, and/or posted online,

and warranty claims; (3) three alleged instances of vehicle fires and the recalls issued

by PCNA; and (4) litigation to which PCNA was not a party. (See FAC ¶ 39). For

the reasons outlined below, these allegations, individually and collectively, fall short

of showing PCNA had the requisite knowledge of the defect.

      Presale Testing. Plaintiffs first allege that “concerns regarding the design and

durability of the Taycan’s battery system should have been revealed to Porsche”

during presale testing. (FAC ¶¶ 39–44). Plaintiffs point to several test procedures

but fail to allege that those procedures were performed on the specific vehicle types

and model years at issue, nor do they allege why those tests “would likely result in

knowledge of the defect.” McMahon v. Volkswagen Aktiengesellschaft, 2023 U.S.

Dist. LEXIS 105309, at *31 (D.N.J. June 16, 2023). Courts throughout the country

(applying the laws of the named Plaintiffs in this case) have consistently rejected

circular and conclusory allegations claiming awareness of a defect based on




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unsupported assertions of assumed product testing. 13 That is particularly true here,

where Plaintiffs appear to bring a manufacturing defect claim. (See FAC ¶ 44).

Manufacturing defects occur during the production of the vehicles—after the

preproduction testing is complete. Unlike a design defect claim where an alleged

defect is inherent in every vehicle and therefore necessarily present during the

presale testing period, that is not the case for a manufacturing defect.

      Customer Complaints. Customer complaints in and of themselves do not

support an inference that a manufacturer was aware of a defect—instead, complaints

“merely establish the fact that some consumers were complaining.” Wilson v.

Hewlett-Packard Co., 668 F.3d 1136, 1147 (9th Cir. 2012). Moreover, complaints

directed to dealers or NHTSA (or posted online) do not sufficiently allege



13
    See, e.g., Lewis v. Mercedes-Benz U.S., 530 F. Supp. 3d 1183, 1221 (S.D. Fla.
2021) (“To accept Plaintiffs’ general allegations about [Defendants]’ internal testing
. . . is to create a presumption of knowledge on the part of any large manufacturer of
any alleged defect in its product line, and more than that, to assume that knowledge
from some unknown time after the product has been on the market.”); Snowdy v.
Mercedes-Benz USA, LLC, 2024 U.S. Dist. LEXIS 59302, at *64 (D.N.J. Apr. 1,
2024) (“Plaintiffs cannot establish pre-sale knowledge based on collaboration and
testing where they have alleged no facts to support the inference that the
collaboration and testing necessarily revealed the defect.”); Grodzitsky v. Am. Honda
Motor Co., 2013 U.S. Dist. LEXIS 33387, at *19 (C.D. Cal. Feb. 19, 2013)
(“Plaintiffs’ generalized assertion that unspecified ‘pre-release testing data’ and
‘aggregate data from Honda dealers’ fails to suggest how this information could have
informed Defendant of the alleged defect at the time of sale.”); Smith v. GM LLC,
988 F.3d 873, 885 (6th Cir. 2021) (holding that “theoretical results from pre-
production tests without accompanying verification that the tests occurred and
revealed a safety defect” cannot survive a motion to dismiss).
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knowledge where there are no allegations indicating that the defendant “actually

received, tracked, or was otherwise made aware of the complaints.” Szep v. GM LLC,

491 F. Supp. 3d 280, 294 (N.D. Ohio 2020). And merely alleging that PCNA reads

online message boards and scours the NHTSA complaint database is speculative at

best. Smith, 988 F.3d at 885; Snowdy, 2024 U.S. Dist. LEXIS 59302, at *67

(rejecting argument that manufacturer “regularly monitors consumer complaints to

NHTSA about its vehicles”). Finally, post-sale complaints should receive no weight,

since they logically could not provide presale knowledge. See Snowdy, 2024 U.S.

Dist. LEXIS 59302, at *68. Applying these principles, the FAC fails to sufficiently

allege PCNA’s presale knowledge.

      As an initial matter, none of the cited complaints describe a high-voltage

battery catching fire, the thrust of Plaintiffs’ alleged battery defect. (See FAC ¶¶ 36,

38 (quoting complaints submitted to NHTSA and posted online about vehicles with

various electrical error messages)). These complaints, at best, describe purported

symptoms of the alleged defect, not the actual defect alleged, which is not enough

to establish knowledge. See Diaz v. FCA US LLC, 2022 U.S. Dist. LEXIS 158865,

at *78 (D. Del. Sept. 2, 2022) (explaining that to establish knowledge, “the

complaints must identify or describe the defect alleged, not merely identify some




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symptoms”). Moreover, the symptoms described in all of but one these complaints,14

relate to an entirely separate and previously resolved issue. 15 Indeed, half of the cited

NHTSA complaints were explicitly considered by NHTSA in connection with this

separate investigation that NHTSA has since closed.16 It strains credulity to suggest

that complaints concerning a separate issue not involving battery fires or short-

circuits that was investigated and resolved could provide knowledge that Plaintiffs’

vehicles had a defect that could result in the high-voltage batteries catching fire.




14
   With the exception of one complaint that relates to an issue that arose while
charging the vehicle (see FAC ¶ 36 (citing NHTSA ID No. 11476601)), all of cited
complaints all refer to versions of the same error message: “Electrical System Error
– Park Vehicle in a Safe Space.” (See id. ¶¶ 36, 38).
15
  Specifically, on May 17, 2021, NHTSA opened a Preliminary Evaluation (“PE21-
013”) related to complaints that some 2020–2021 Taycan electric vehicles lost
power and displayed a warning message to “Stop vehicle in a safe place.” (See
Closing Resume for Investigation PE21-013, NHTSA Off. of Defects Investigation
(“NHTSA            PE21-013        Closing       Resume”),          available      at
https://static.nhtsa.gov/odi/inv/2021/INCLA-PE21013-6727.PDF (last visited Apr.
7, 2025), attached hereto as Ex. C). NHTSA closed PE21-013 on December 23,
2021, after PCNA issued a recall to correct a software malfunction and made
production changes going forward. Id. While Plaintiffs did not attach the documents
relating to PE21-013 to their Complaint, they rely on complaints that were
investigated as part of PE21-013, and it is well established that this Court can take
judicial notice of documents on NHTSA’s website. See Ward-Richardson v. FCA
US LLC, 690 F. Supp. 3d 1372, 1375 n.2 (N.D. Ga. 2023) (taking judicial notice of
NHTSA documents created and distributed as part of recall referenced in complaint).
16
  Compare Ex. C, NHTSA PE21-013 Closing Resume (listing NHTSA complaints
that led to the opening of PE21-013) with FAC ¶ 36 (citing to NHTSA ID Nos.
11419735; 11433960; 11435775; 11418935; 11422463; 11404336; 11427688;
11429897; and 11431568).
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      A close look at the 18 NHTSA complaints reveals that they are insufficient to

establish knowledge of the alleged defects in Plaintiffs’ vehicles at the time Plaintiffs

purchased them. 17 First, Plaintiffs do not cite to any NHTSA complaints submitted

before Kukrika or Lanez purchased their vehicles. Second, Plaintiffs do not cite to

any NHTSA complaints concerning Kukrika’s, Lanez’s, or Palefsky’s specific

vehicles. It is not sufficient to establish presale knowledge by pointing to complaints

regarding any Taycan, where, as here, the FAC is devoid of allegations that all model

years and variants shared an identical design and were manufactured in the same

way. See, e.g., Cho v. Hyundai Motor Co., 636 F. Supp. 3d 1149, 1171 (C.D. Cal.

2022). Third, the cited NHTSA complaints that relate to Chandler-Ward’s vehicle

model (2022 Taycan) postdate the purchase of her vehicle and therefore cannot show

presale knowledge. Fourth, with respect to Williams, half of the eight complaints

concerning the 2020 Taycan were explicitly investigated and addressed in the

separate investigation noted above, and it would be unreasonable to infer knowledge

from only four complaints regarding his vehicle model (none of which involved

battery fires and all of which related to the issue investigated in PE21-013).

      Plaintiffs also quote various online complaints (FAC ¶ 38), but the dates of

these online posts are not provided, so they cannot establish PCNA’s presale


17
   To aid the Court, attached as Ex. D is a chart detailing the customer complaints
alleged in the FAC compared to the date of each Plaintiff’s date of purchase and
specific model/model year purchased.
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knowledge. Moreover, although Plaintiffs allege that PCNA monitors internet

complaints (id. ¶ 46), there is no allegation that PCNA “actually received, tracked,

or was otherwise made aware of the[se] complaints.” Szep, 491 F. Supp. 3d at 294–

95. While one complaint mentions contacting a “Porsche NA” representative, it does

not plead the content of the complaint made, or more importantly, when it was made,

making it impossible to discern what PCNA was allegedly told prior to the sales of

Plaintiffs’ vehicles. See Browning v. Am. Honda Motor Co., 2022 U.S. Dist. LEXIS

48555, at *46 (N.D. Cal. Mar. 18, 2022). Nor is it sufficient that some of these

complaints reference discussions with dealers, because Plaintiffs do not allege that

PCNA actually received any of these complaints from the dealers. See Snowdy, 2024

U.S. Dist. LEXIS 59302, at *69–70.

      In total, Plaintiffs point to 21 customer complaints (FAC ¶¶ 36, 38) but given

the large quantity of vehicles sold by PCNA, 21 customer complaints are not an

“unusually high number of complaints” that would allow the Court to infer that

PCNA knew of the battery defect. McMahon, 2023 U.S. Dist. LEXIS 105309, at

*33–34 (finding that 30 complaints was not an unusually high number of complaints

that could indicate that the defendants knew of the alleged defect). This is

particularly true here, where at least nine of those complaints (and likely more) raise

an unrelated issue that was investigated and closed by NHTSA long before this case

was initiated.


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       Field Reports, and Warranty Data. Plaintiffs allege PCNA analyzes field

data and requires dealers to submit information to substantiate warranty claims (FAC

¶¶ 46–48), but they have not “sufficiently alleged how any of these quality control

mechanisms placed Defendants on notice that there was a possible [battery] defect

in their vehicles.” Deras v. Volkswagen Grp. of Am., Inc., 2018 U.S. Dist. LEXIS

83553, at *12–15 (N.D. Cal. May 17, 2018) (citation omitted). 18 Nor do they allege

any facts explaining what this data showed or when any problematic reports or

claims were made. Plaintiffs have not sufficiently alleged, with particularity, any

facts showing PCNA knew from this data that Plaintiffs’ vehicles may contain the

alleged defect prior to their sale. See Snowdy, 2024 U.S. Dist. LEXIS 59302, at *69–

70.

       Isolated Reports and the Recalls Issues by PCNA. Plaintiffs contend that

statements in the Part 573 Report submitted on March 20, 2024 demonstrate PCNA’s

presale knowledge. (FAC ¶ 51). As an initial matter, construing recall documents or

associated technical bulletins as potential admissions of fraudulent concealment—

rather than recognizing that they are a good faith attempt to remedy problems that

may have arisen—would “discourage manufacturers from responding to their


18
   See also Beck v. FCA US LLC, 273 F. Supp. 3d 735, 753 (E.D. Mich. 2017)
(finding NHTSA monitoring to meet reporting requirements under federal law
insufficient to establish knowledge); Elfaridi v. Mercedes-Benz USA, LLC, 2018
U.S. Dist. LEXIS 145196, at *4 (E.D. Mo. Aug. 27, 2018) (finding allegations
Mercedes monitors NHTSA for information insufficient to establish knowledge).
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customers” in the first place. Wiseberg v. Toyota Motor Corp., 2012 U.S. Dist.

LEXIS 45849, at *12 n.2 (D.N.J. Mar. 30, 2012). In any event, the statements in that

recall report, as well as the three incidents described in the FAC, cannot establish

knowledge. In total, Plaintiffs point to three alleged incidents of fires involving

Taycans. (FAC ¶¶ 49–52). PCNA disputes that these fires were caused by Taycan

batteries, but even if they were, three is far too few to establish knowledge.19 See,

e.g., McMahon, 2023 U.S. Dist. LEXIS 105309, at *32.

      Unrelated Litigation. Finally, Plaintiffs attempt to rely on litigation

involving a different brand of electric vehicles to establish PCNA’s presale

knowledge of a defect in its vehicles (FAC ¶ 53), but “an investigation into another

automaker’s vehicle is insufficient to establish defendants’ knowledge.” See

Elfaridi, 2018 U.S. Dist. LEXIS 145196, at *13 (citation omitted). Additionally,

NHTSA investigated whether there was a common defect in high voltage batteries

manufactured by LG Energy Solutions and elected to close its Equipment Query

after submissions explaining that the batteries supplied to different manufacturers




19
  For Kukrika and Lanez, only the alleged February 2020 incident occurred prior to
their purchases. (See FAC ¶¶ 10, 14, 49). And for Chandler-Ward, only the February
2020 and October 2021 alleged incidents occurred prior to her purchase. (FAC ¶¶
11, 49–50).

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are “customized” and “unique” to each vehicle model and the recalls of LG batteries

were not due to the same root cause.20

      In short, Plaintiffs’ allegations of presale knowledge—individually and

collectively—are insufficient to plausibly allege that PCNA had knowledge of a

defect in each Plaintiff’s vehicle at the time that they purchased. Counts I, IV, and

V should be dismissed.

         H. Plaintiffs’ Request for Injunctive and Equitable Relief Should be
            Dismissed Under the Doctrine of Primary Jurisdiction.

      Primary jurisdiction applies whenever enforcement of a claim requires the

resolution of issues which, under a regulatory scheme, have been placed within the

special competence of an administrative body. See United States v. Western Pac.

R.R. Co., 352 U.S. 59, 63–64 (1956) (citation omitted). The doctrine of primary

jurisdiction is concerned with promoting proper relationships between the courts and

administrative agencies charged with particular regulatory duties. See id. at 63.



20
   On April 1, 2022, NHTSA opened a Preliminary Evaluation (“EQ 22-001”) to
contact and obtain information from LG Energy Solutions and its purchasers that
received the same or similar high voltage batteries as identified in recalls for
Mercedes Benz 20V107, Hyundai 20V630, General Motors 20V701 and 21V650,
Hyundai 21V127, Stellantis 22V077, and Volkswagen 22V162. (See Closing
Resume for Investigation EQ 22-001, NHTSA Off. Of Defects Investigation,
available at https://static.nhtsa.gov/odi/inv/2022/INCLA-EQ22001-15210.pdf (last
visited April 7, 2025), attached here to as Ex. E. While Plaintiffs did not attach
documents relating to EQ 22-001 to their FAC, it is well established that this Court
can take judicial notice of government websites, including NHTSA. See Ward-
Richardson, 690 F. Supp. 3d at 1375 n.2.

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There is no fixed formula for applying this doctrine, and the question is whether the

reasons for the existence of the doctrine are present and whether the purposes it

serves will be aided by its application in the particular litigation. See id. at 64.

      The Supreme Court has held that it may be appropriate to refer specific issues

to an agency where that procedure “would secure uniformity and consistency in the

regulation of business entrusted to a particular agency.” Nader v. Allegheny Airlines,

Inc., 426 U.S. 290, 303–04 (1976) (citations omitted). “Our government has largely

entrusted the safety of the nation’s roadways—in the macro sense—to the National

Highway Transportation Safety Administration (NHTSA), which is responsible for

administering the Motor Vehicle Safety Act (MVSA), 49 U.S.C. § 30101 et seq.; 49

C.F.R. §§ 1.2, 501.1, 501.2.” Silvas v. GM, LLC, 2014 U.S. Dist. LEXIS 52979, at

*4–5 (S.D. Tex. Apr. 17, 2014). 21

      The remedy outlined in the voluntary recall that PCNA submitted to NHTSA

will fix high-voltage battery modules where an anomaly is detected and provides for

the installation of on-board diagnostic software to monitor for any future anomalies.

(Ex. A, Recall Report at p. 3). This NHTSA-supervised recall remedy more than

satisfies Plaintiffs’ request for injunctive and equitable relief “in the form of a

comprehensive program to adequately repair or replace the batteries in all Class


21
   The MVSA and its interpretive regulations contain numerous provisions that
NHTSA applies in the context of an automotive recall. See id. at *5 (citing MVSA
§ 30118–20, 49 C.F.R. § 577.1 et seq.).
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Vehicles, and/or buyback all Class Vehicles.” (FAC at 87). If Plaintiffs’ requested

relief is granted, it will be redundant of and directly conflict with the recall that

NHTSA is already in the process of administering. In re Takata Airbag Prods. Liab.

Litig., 396 F. Supp. 3d 1101, 1133 (S.D. Fla. 2019) (plaintiffs agreed “not to seek

recall-related injunctive relief that would interfere with NHTSA’s [Coordinated

Remedy Order]”).

       The Court should dismiss Plaintiffs’ request for injunctive and equitable relief

“in the form of a comprehensive program to adequately repair or replace the batteries

in all Class Vehicles, and/or buyback all Class Vehicles” in deference to NHTSA’s

ongoing recall pursuant to the doctrine of primary jurisdiction. See Silvas, 2014 U.S.

LEXIS 52979, at *8 (“NHTSA is far better equipped than this Court to address the

broad and complex issues of automotive safety and the regulation of automotive

companies in connection with a nationwide recall.”); see also Bussian v.

DaimlerChrysler Corp., 411 F. Supp. 2d 614, 627–29 (M.D.N.C. 2006).

VI.    CONCLUSION

       For the reasons outlined above, PCNA requests that the Court grant its partial

motion to dismiss in its entirety.



       Respectfully submitted this 7th day of April, 2025.




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                            RULE 7.1D CERTIFICATE

      The undersigned hereby certifies that the foregoing Defendant Porsche Cars

North America, Inc.’s Brief in Support of its Motion to Dismiss Class Action

Complaint was prepared using 14-point Times New Roman font, in accordance with

Local Rule 5.1B.



                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

DEFENDANT PORSCHE CARS NORTH AMERICA, INC.’S PARTIAL BRIEF

IN SUPPORT OF ITS MOTION TO DISMISS CLASS ACTION COMPLAINT

with the Clerk of Court using the CM/ECF system, which will send notification of

the filing to all counsel of record.



      Dated this 7th day of April, 2025.

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